BankruptcyZOlZ 0199|-20|2, New Hope Soliware, lnc., ver. 4.6.8-782 - WQAY-VFNG“°°’

Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 1 of 15
B6F (Ofiicial Form 6F) (12/07)

rn re Latitude Solutions, lnc. , Case No.
Debtor (lf` known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip codc, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. lf a minor child is a creditor, state the child's initials and the name and address
of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See ll U.S.C. § 1 12 and Fed. R. Bankr. P.
1007(m), Do not include claims listed in Schedules D and E. lf all creditors will not titan this page, use the continuation sheet provided.

 

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled ”Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. lf a joint petition is liled, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in t.he column labeled "Husband, Wifc, .loinL or Community.”

lf the claim is contingent, place an "X" in the column labeled "Contingent." lf the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." lf the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one ofthese three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schcdules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Ccrtain Liabilities and
Related Data.

l:| Check this box il` debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

§ ¢=
CRED|TOR,S NAME, g §§ DATE CLA[M WAS lNCURRED AND § § a AMoUN.I.
MAILINC ADDRESS § 3 § CONSIDERATloN FOR CLA]M. o o 5 OF
INCL‘_JD[NG z") CODE’ m °. o lF CLAIM lS SUBJECr TO SETOFF, E 5 §- CLAlM
AND AccouNT NuMaER 3 § g 50 STATE- § 2 ‘E"
(See ins!ructlons above.) v § ° O "'}
a '~’ §
AccouNT NO. Incurred: 9/24/| 2

 

Accelerated Te chn 01 o gi es Conslderatlon: Goods and services

312 S Old Dixie Hwy, Suite 109 3,543.64
Jupiter, FL 33458

 

AccouN'r No. lncurred: 8/23/ 12

 

‘ ` r ti n: oodsandse i
Ace Busmess Forrns C°n$‘de a 0 G rv ces

151 NW 108th 212.00
Terrace Plantation, FL 33324

 

 

AccouNT No. lncurred: various
Akin Gump Strauss Hauer & Feld Conslderation: Legal services
LLP 23,023.15

Dept 7247-6827
Philadelphia, PA 19170-6827

 

 

AccouNT NO_ lncurred: 10/26/ 12
ALS Laboratol.y Group Consideration: Goods and services
PO Box 975444 175.00

Dallas, TX 75397-5444

 

 

 

 

 

 

 

 

14 continuation sheets attached S\lbefal > $ 26,953.79

 

Total > $

(Use only on last page of the completed Schedulc F.)

(Report also on Summary of Schedules and, ifapplicable, on the Statistica|
Summary ofCertain Liabilities and Related Data.)

 

 

 

BanluuptcyZUlZ 01991-2012, Ncw Hope Sot`twarc, lnc., ver. 4.6'11-782 - WQAY-VPNG”"'

Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 2 of 15

B6F (Ofi`lcial Form 6F) (12/07) - Cont.

In re Latitude Solutions, Inc.
Debtor

. Case No.

 

(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME,
MAlLING ADDRESS
lNCLUDlNG ZlP CODE,
AND ACCOUNT NUMBER
(See instruction above)

CODEBTOR
uusaANn, wing Jom'r

ORCOMMUNITV

DATE CLAIM WAS INCURRED AND
CONSIDERAT!ON FOR CLAIM.
lF CLAlM lS SUBJECT TO SETOFF,

CONTINGENT

UNL[QUIDATED
DlSPUTED

AMOUNT
OF
CLAlM

 

ACCOUNT NO.

 

Brent Dooley
PO Box 141
Eads, TN 38028

Consideration: Expense reimbursement
Fonner employee

524.01

 

ACCOUNT NO.

 

Buzzbahn, LLC

c/o Lance H. Meyer, Esq., PLLC
1111 Marcus Ave, Suite 107
Lake Success, NY 11042

Consideration: Lawsuit

0.00

 

ACCOUNT NO.

 

Capital Growth
630 Germantown Pike
Plymouth Meeting, PA 19462

Incurred: 5/14/ 12
Consideration: Convertible note

250,000.00

 

ACCOUNT NO.

 

Carly Singer

c/o Erika Deutsch Rotbart, Esq.
Deutsch Rotbart & Associates PA
4755 Technology Way, Suite 106
Boca Raton, FL 33431

Consideration: Lawsuit

0.00

 

ACCOUNT NO.

 

-C'atalyst BeSign §ervices
PO Box 82811
Austin, TX 78708

 

 

 

Incurred: 9/26/ 12
Consideration: Goods and services

 

 

 

 

50.00

 

Shect no. l of 14 continuation sheets attached
to Schedule of Creditors Holding Unsecured
Nonpriority C|aims

Subtotal >

Tota| >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicab|e, on the
Statistical Summary of Certain Liabilities and Related Data.)

$

250,574.01

 

 

 

 

BankruptcyZOlZ 01991-2012, New Hope Soi\wa.re. lnc., ver. 4.6.8-782 - WQAY-VPNG““‘

Case 12-46295-r1n11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 3 of 15

B6F (Official Form 6F) (12/07) - Cont.

ln re Latitude Solutions, lnc.

Dehtor

, Case No.

 

(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CRED|TOR’S NAME,
MAILING ADDRESS
lNCLUDlNG ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
uusaANo, wn-'c, iolm‘

ORCOMMUNIT\'

DATE CLAlM WAS lNCURRED AND
CONSIDERATION FOR CLAlM.
lF CLAIM IS SUBJECT TO SETOFF,

CONTINGENT

UNLlQUlDATED
DlSPUTED

AMOUNT
OF
CLAlM

 

ACCOUNT NO.

 

CenterPoint Energy
PO Box 4671
Houston, TX 77201

Notice Only

 

ACCOUNT NO.

 

Cenu'al Arkansas Tool Supply, lnc.
5099 1-1eber Springs Rd
West Quitman, AR 72131

Incurred: 8/7/12
Consideration: Goods and services

140.78

 

ACCOUNT NO.

 

City of Boca Raton
Alarm Billing

201 W Palmetto Park Rd
Boca Raton, FL 33432

Incurred: 4/27/ 12
Consideration: Notice only

0.00

 

ACCOUNT NO.

 

Colorado Analytical
PO Box 507
Brighton, CO 80601

Incurred: 8/15/12
Consideration: Goods and services

60.00

 

ACCOUNT NO.

 

Corporation Guarantee & Trust
Company

3331 Street Rd

Bensalem, PA 19020

 

 

 

Incurred: various
Consideration: Goods and services

 

 

 

 

875.00

 

Sheetno. § of 14 continuation sheets attached

to Schedule of Creditors Holding Unsecured
Nonpriority Claims

Subtotal >
Total >

(Use only on last page of the completed Schedule I~`.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

$

1,075.78

 

 

 

 

BankruptcyZOlZ 01991-201L Ncw Hopc Sohware, lnc., ver. 4.6.8~782 ~ WQAY~VPNG"’"

Case 12-46295-r1n11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 4 of 15

B6F (Official Form 6F) (12/07) - Cont.

Latitude Solutions, lnc.
Debtor

In re

, Case No.

 

(Il' known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDIT°R'S NAME’ g §§ DATE cLAiM wAs iNCuRREi) AND § § a AMOuNT
ané?:JLI:il~i:GAZi:loi(z:%ng 15 §§ coNsmERATioN ron cLAiM. § § § op
AND ACCoUNT NUMBER § § 8 IF CLAIM lS SUBJECT TO SETOFF, !:: § § CLA[M
(See instructions above.) g § § g : a
§ o §
ACCOUNT NO~ Incurred: various
Crestmark Bank Consideration: Lme of credit
Attn: Lockbox Dept - Latitude Energy 4,242. 12
5480 Corporate Dr, Suite 350
Troy, Ml 48098
ACCOUNT NO- Incurred: various
DGS Properties, LLC Consideration: Off`ice lease
2401 NW Boca Raton Blvd, Suite 100 20,881.28
Boca Raton, FL 33431
ACCOUNT NO. Incurred: 5/21/12; 6/1 1/12
Discl_etionary Investment Tmst Consideration: Convertible notes
Account 250,000.00
630 Germantown Pike
Plymouth Meeting, PA 19462
ACCOUNT No. Incurred: various
DLA Piper Consideration: Legal services
200 S Biscayne Blvd, Suite 2300 761,260.14
Miami, FL 33131-5342
ACCOUNT NO. Incurred: 8/28/09
Douglas Neil Fen,is Consideration: Convertible note
and/or Maxine Ferris JTWROS 15,261.00
Box 4, Site 27
Rocky Mountain House, Alberta
Canada T4T2A2
Sheetno. 3 of 14 continuation sheets attached Subtotal> $ 1 051 644_54
to Schedule of Creditors Holding Unsecured ’ ’
Nonpriority Claims Total > $

(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable, on the

Statistical Summary of Certain Liabi|ities and Related Data.)

 

 

 

BmkmplcyZOIZ 01991-20|2, New Ho))c Softwarc. lnc., ver. 446,8-782 - WQAY-VPNG"'"

Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 5 of 15

BGF (Ofi'lcial Form 6F) (12/07) - Cont.

ln re Latitude Solutions, lnc.

Debtor

. Case No.

 

(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME,
MAlLlNG ADDRESS
lNCLUDlNG ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above)

CODEBTOR
uusnANo, wan .lolNT
oncoMMerrY

DATE CLAlM WAS INCURRED AND
CONSIDERATION FOR CLAlM.
lF CLA[M IS SUBJECI` TO SETOFF,

CONTINGENT

UNLIQUIDA'I'ED
DISPU'I`ED

AMOUN'I`

CLAlM

 

ACCOUNT NO.

 

Entergy Arkansas, Inc.
PO Box 8101
Baton Rouge, LA 70891

Notice Only

 

ACCOUNT NO.

 

Evergreen Tank Solutions
PO Box 840600
Dallas, TX 75284-0600

Consideration: Goods and services

3,996.75

 

ACCOUNT NO.

 

Fas=Line Fluid Services, LLC
PO Box 203187

Dept 18705

Dallas, TX 75320

Consideration: Goods and services

l 1,666.00

 

ACCOUNT NO.

 

Fastenal Company
PO Box 1286
Winoma, MN 55987-1286

lncurred: 10/18/12
Consideration: Goods and services

288.81

 

ACCOUNT NO.

 

FEQ Realty
24224 Kanis Rd
Little Rock, AR 72223

 

 

 

Incurred: 5/15/12; 6/22/ 12
Consideration: Converible notes

 

 

 

 

200,000.00

 

Sheetno. 4 of 14 continuation sheets attached

to Schedule of Creditors Holding Unsecured

Nonpriority Claims

Subtotal >

'I`ota| >
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of`Certain Liabilities and Related Data.)

$

215,951.56

 

 

 

 

BankmptcyZOlZ 0199|-20]1, Ncw Hope Sof`\wure, lnc., vcr. 4'648-782 - WQAY-VPNG’""

Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 6 of 15

B6F (Off'lcial Form 6F) (12/07) - Cont.

in re Latitude Solutions, Inc.

chtor

, Case No.

 

(Il` known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME,
MAlLlNG ADDRESS
lNCLUDlNG ZlP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
nusBANo, wm:, Jom'r
oncoMMuNrrY

CONSIDERATION FOR CLAlM.

DATE CLAIM WAS INCURRED AND

lF CLAIM lS SUBJE(.'I` TO SETOFF,

CONTINGENT

UNLlQUlDATED
DlSPUTED

AMOUNT

CLAlM

 

ACCOUNT NO.

 

Firodaliso LTD

c/o North Atlantic SAM
Attn: Monica Grabovsek
Le Patio Palace

41 Ave Hector Otto

Incurred: 5/15/12
Consideration: Converible note

250,000.00

 

t Monar-'\
Pl:lii@l'§§lit§(l)f Monaco

 

F|orida Power & Light
General Mail Facility
Miami, FL 33188-0001

lncurred: various
Consideration: Goods and services

300.63

 

ACCOUNT NO.

 

General Air
1105 Zuni St
Denver, CO 80204-3338

Consideration: Goods and services

2,236.58

 

ACCOUNT NO.

 

Greg Bell Truck Services
Dept 144

PO Box 1000

Memphis, TN 38148-0144

Incurred: 7/24/ 12
Consideration: Goods and services

2,376.00

 

ACCOUNT NO.

 

Harrison Business l-’ark, LLC
c/o Peak Commerical Properties
104 S Cascade, Suite 214
Colorado Springs, CO 80903

 

 

 

Consideration: Oftice lease

 

 

 

 

0.00

 

Sheet no. 5 ol` 14
to Schedule of Creditors Holding Unsecured
Nonpriority C|aims

 

 

continuation sheets attached

Subtotal >

Total >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistica| Summary ofCertain Liabilities and Related Data.)

$

254,913.21

 

 

 

 

Bankmptcy2012 01991-2012, Ncw Hupc Soi`twure, lnc., vcr. 4.6.8-782 - WQAY~V`PNG'“”

Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 7 of 15

B6F (Off'lcial Form 6F) (12/07) - Cont.

in re Latitude Solutions, lnc.
Debtor

. Case No.

 

(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME,
MAILING ADDRESS
lNCLUDlNG ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
HusBAND, wn-'s, .lom'r
onconIMUNrrv

DATE CLAlM WAS INCURRED AND
CONSlDERATION FOR CLAIM.
IF CLAIM IS SUBJECI` TO SETOFF,

CONT[NGENT
DlSPUTED

UNLlQUlDATED

AMOUNT
OF
CLAlM

 

ACCOUNT NO.

 

Healthcare Equipment Funding
1310 Madrid St, Suite 103
Marshall, MN 56258

lncurred: various
Consideration: Equipment lease

0.00

 

ACCOUNT NO.

 

iAnalyst, Inc.
21 SE lst Ave, Sth Floor
Miami, FL 33131

Consideration: Goods and services

2,650.00

 

ACCOUNT NO.

 

IP Automation, Inc.
2818 National Place
Colorado Springs, CO 80906

Consideration: Contract claim - lawsuit
pending
Subject to setoff - Debtor has counterclaim

1,347,113.19

 

ACCOUNT NO.

 

Island Stock Transfer

Roosevelt Office Ctr

15500 Roosevelt Blvd, Suite 301
Clearwater, FL 33760

Consideration: Goods and services

550.00

 

ACCOUNT NO.

 

Jabil Circuit, Inc.
PO Box 70870
Chicago, IL 60673-0870

 

 

 

Incurred: various
Consideration: Goods and services

 

 

 

 

9,245,475.27

 

Sheet no. 6 of 14 continuation sheets attached
to Schedule of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>
Tota| >

(Use only on last page of` the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain liabilities and Re|ated Data.)

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10,595,788.46

 

 

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Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 8 of 15
BGF (Ofi'lcial Form 6F) (12/07) - Cont.

 

 

ln re Latitude Solutions, lnc. , Case No_
Debtor (11' known)
SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

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cm~:mToR's NAME ¢ -E "' m
' o ar z DATE CLAIM wAS INCURRED AND Z g_. a AMOUNT
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AND ACCOuN,r NUMBER § 58 lF CLAlM lS SUBJECT TO SETOFF, [_ § § CLAlM
(See instructions above) 8 §§ § 5 E
§ o §
ACCOUNT NO- Incurred: 8/25/09
James S Shaver & Ann M Shave Consideration: Convertlble note
JTWROS 7 10,000.00
908 Riverbend Rd
Clinton, TN 37716
ACCOUNT NO- lncurred: 11/1/12
lay Young Emerprises Consideratlon: Commlsslon
PO Box 1711 20,133.00
Odessa, TX 79760
AccouNT No. Incurred: 1/4/ 12
Jeffrey Wohler Consideration: Convertlble note
3500 W Seventh St 50,000.00

Fort Worth, TX 76107

 

AccouNT No. lncurred: 9/4/09; 9/25/09
Consideration: Convertible notes

 

John D. Brown
104 Oakwood Place 20,000.00
Emmittsburg, 1A 50536

 

ACCOUNT NO. Consideration: Goods and services

 

Keathley-Patterson Electn'c
604 E Booth Ave 0.00
Searcy, AR 72143

 

 

 

 

 

 

 

 

 

Sheet noj of 14 continuation sheets attached Subtotal> $ 100 133,00
to Schedule of Creditors Holding Unsecured ’
Nonpriority Claims Tolal > $

 

 

 

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

BankruptcyZOlZ 01991~2012, Ncw Hopc Soflwarc, lncr, va 4.6.8-782 - WQAY-VPNG”*"

Case 12-46295-rfn11 Doc 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 9 of 15

BsF (ofncan Form 6F) (12/07) - conc.

Latitude Solutions, Inc.
Debtor

ln re

. Case No.

 

(Il` known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CREDlTOR’S NAME °‘ § c TE cLAlM w s lNCURRED AND § g
’ 0 al E DA A l- a AMOUNT
INA§QLLS]$GA;:BI;IY§E § §§ coNsmERA'rioN FoR CLAIM. § § § op
s w .
AND ACCOUNT NUMBER 8 § § IF CLAIM lS SUBJECI` TO SETOFF, § 3 z CLAlM
(See instructions above.) g ga o o 5 g
§ o §
ACCOUNT NO- Incurred: various
Ken M Link Consideration: Office lease
3500 W Seventh St 55,885.00
Fort Worth, TX 76107
ACCOUNT NO. lncurred: various
LABLynX inc Consideration: Goods and services
PO Box 724207 3,150.00
Atlanta, GA 31139
ACCOUNT No. Incurred: 8/30/12
Lake Shore Intemational LTD Consideration: Goods and services
1405 Ostrander Ave 86.00
Lagrange Park, IL 60526
ACCOUNT NC>. Incurred: various
Lewis & Rost Consideration: Goods and services _
8400 E Prentice Ave, #1040 22,664.00
Greewood Village, CO 80111-2922
ACCOUNT NO. Incurred: various
Luminultra Technologies LFD Consideration: Goods and services
520 King St 2,423.63
Fredericton, New Brunswick
Canada E3B 6G3
Sheet no. § of 14 continuation sheets attached Subtotal> $ 84 2()8_63
to Schedule of Creditors Holding Unsecured ’
Nonpriority Claims Total > $

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary ofCertain Liabilities and Related Data.)

 

 

 

Bankrup!cyZOlZ Gl99|-20l2, Ntw Hope thware_ lnc., ver. 4.6.8-782 - \VQAY.VPNG""'

CaSe 12-46295-r`fn11 DOC 2-13 Filed 11/09/12 Entered 11/09/12 19214:11 Page 10 Of 15

B6F (Ofi'lcial Form 6F) (12/07) - Cont.

In re Latitude Solutions, lnc.

Debtor

. Case No.

 

(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CREDlTOR’S NAME’ °o‘ §§ DATE cLAlM wAs lNcuRRED ANl) § § a AMQUNT
IN]\ét=-]LSII\JISGAZ[:B%I‘(I)SSE ii § § CONS|DERAT|ON FOR CLAlM. § § § OF
AND ACCGUNT NUMBE'R § § § lF CLAlM IS SUBJECT TO SETOFF, § 3 g CLAlM
(See ins!rucrions above.) g § g 0 5 5
§ o §
ACCOUNT NO. Consideration: Goods and services
Magnit'ied Imaging Solutions
7037 NW 88th Ave 0-00
Tamarac, FL 33321
ACCOUNT NO. lncurred: 9/27/12
Meurel_ Research’ Inc' Consideration: Goods and services
6270 Joyce Dr 2,000.00
Go|den, CO 80403
ACCOUNT NO. Incurred: various
Michael A_ Littman Consideration: Goods and services
7609 Ralston Rd 10,054.00
Arvada, CO 80002
AccouNT No. Incurred: 12/14/ 10
Michael Moe Consideration: Convertlble note
574| Whispering Wi|low Way 1,000.00
Ft. Meyers, FL 33908
ACCOUNT NO. Incurred: various
Modem.rech Consideration: Goods and services
1626 Downtown West Blvd 6,630.30
Knoxville, TX 37919
Sheet no. §_ ochontinuation sheets attached Subtotal) $ 19 684 30
m schedule of creditors Ho\ding Unsecured ’ `
Nonpriority Claims Tolal > $

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, ii`applicable, on the
Statistical Summary of Cenain Liabilities and Related Data.)

 

 

 

Hnnkmplcy2012 01991-20|2, New Hope thwa.re, lnc., ver. 4.6.8-782 - WQAY-VPNG”’°'

CaSe 12-46295-r`fn11 DOC 2-13 Filed 11/09/12 Entered 11/09/12 19214:11 Page 11 Of 15

B6F (Offlcial Form 6F) (12/07) - Cont.

Latitude Solutions, Inc.
chtor

In re

, Case No.

 

(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME,
MAlLlNG ADDRESS
lNCLUDlNG ZlP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR
HusBANn, wn=e, .lolN‘r
oncoMMUNrrv

DATE CLAlM WAS INCURRED AND
CONSlDERATlON FOR CLAIM.
lF CLAlM lS SUBJECI` 'I`O SETOFF,

CONTINGENT

UNLlQUlDATED
DISPUTED

AMOUNT
OF
CLAlM

 

ACCOUNT NO.

 

Moon|ight Enterprises
c/o North Atlantic SAM
Attn: Monica Grabovsek
Le Patio Palace

41 Ave Hector Otto
.Mo.n.arn

Incurred: 5/1 8/ 12
Consideration: Converible note

250,000.00

 

M:t‘t'i@it!)§'iii§q)f Monaco

 

MRK Acquisition, lnc.

190 NW Spanish River Blvd, Suite
100

Boca Raton, FL 33431

Consideration: OH'lce lease

19,344.00

 

ACCOUNT NO.

 

NFS Leasing
900 Cummings Ctr, Suite 309-V
Beverly, MA 01915

Consideration: Equipment lease

4,991.36

 

ACCOUNT NO.

 

Nixon & Vanderhye, P.C.
901 Glebe Rd
Arlington, VA 22203

Incurred: various
Consideration: Goods and services

6,487.50

 

ACCOUNT NO.

 

North Tean Tollway Authority
PO Box 660244
Da|las, TX 75266

 

 

 

Incurred: 10/22/' 12
Consideration: Goods and services

 

 

 

 

47.47

 

Sheetno. 10 of 14 continuation sheets attached

to Schedu|e of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>

Total >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

$

280,870.33

 

 

 

 

BankruptcyZOlZ 0199]-20|2, New Hope Soi`tware, lnc., ver. 4.6.8-782 - WQAY-VPNG"”’

CaSe 12-46295-r`fn11 DOC 2-13 Filed 11/09/12 Entered 11/09/12 19214:11 Page 12 Of 15

BGF (Offlcial Form 6F) (12/07) - Cont.

ln re Latitude Solutions, lnc.

, Case No.

 

 

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(lf known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ANI) AccouNT NUMBER g zu § o w
(See instructions above.) g § § O : 5
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= :
ACCOUNT NO. Incurred: 8/23/12
Off.lce Depot Consideration: Goods and servtces
196.13
ACCOUNT NO. Consideration: Goods and services
Permian Machinery Movers
PO Box 11281 l,Ol7.87
Odessa, TX 79760-8281
ACCOUNT NO. Incurred: various
Phi"ips, Cam°r & Shalek’ P_A_ Consideration: Goods and servlces
4000 Hollywood Blvd, Suite 500 1,905.76
North Hollywood, FL 33021
AccouNT No_ Incurred: 10/3/ 12
. Consideration: Goods and services
Pitney Bowes
l Elmcroft Rd 74.97
Stamford, CT 06926
ACCOUNT NO. Incurred: various
-}-,orter Hedges LLP Consideration: Legal services
Dept 510 10,507. 10
PO Box 4346
Houston, TX 77210-4346
Sheetno. ll of 14 continuation sheets attached Subtotal> $ 13 701 83
to Schedule of Creditors Holding Unsecured ’ '
Nonpriority Claims Total ) $

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

 

 

 

BankruptcyZOlZ ¢l99|-20l2, New ane Sol`twnre, lnc., ver. 4.6.8-782 - WQAY-VPNG'”"

Case 12-46295-rfn11 DOC 2-13 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 13 of 15
B6F (Official Form 6F) (12/07) - Cont.

in re Latitude Solutions, lnc. , Case No.
Debtor (ll` known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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AND ACCOUNT NUMBER g § 8 iF cLAiM is sUBJi:Cr To sEToFF, § 5 g cLAiM
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(See instructions above.) g log o 0 § a
s v §
ACCOUNT NO- Incurred: various
PR Newswire Consideration: Goods and services
GPO Box 5897 2,925.50
New York, NY 10087-5 897
ACCOUNT NO~ Incurred: 8/14/12
ShredAssured’ lnc’ Consideration: Goods and services
PO Box 213321 35.00
Royal Palm Beach, FL 33421
ACCOUNT No. lncurred: 8/13/12
Sigma Aldl_ich Consideration: Goods and services
PO Box 535182 204.43
Atlanta, GA 30352
ACCOUNT NO. Incurred: various
Southem Tire Mart Consideration: Goods and services
PO Box 1000, Dept 143 2,376.19
Memphis, TN 38148-0143
ACCOUNT NO. Incurred: various
Technology Laboaratory’ lnc_ Consideration: Goods and services
PO Box 272271 1,873.00
Foi“c Collins, CO 80527-2271
Sheet no. 1 of Lcontinuation sheets attached Subtotal> $ 7 4\4_12
10 Schedule of Creditors Holding Unsecured ’
Nonpriority Claims Total ) $
(Use only on last page ot' the completed Schedule F.)

 

 

 

(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary ofCertain Liabilities and Related Data)

Bankruptcy2012 0199|~20]2, New Hopc Sol`lware, lnc., vcr. 4,6.8-782 - WQA\'-VPNG“"°

CaSe 12-46295-r`fn11 DOC 2-13 Filed 11/09/12 Entered 11/09/12 19214:11 Page 14 Of 15

B6F (Ofiicial Form 6F) (12/07) - Cont.

1a re Latitude Solutions, lnc.

Debtor

, Case No.

 

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SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME,
MAlLlNG ADDRESS
lNCLUDlNG ZlP CODE,
AND ACCOUNT NUMBER
(See instruczi'ons aba ve.)

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oncomnmmr

DATE CLAlM WAS lNCURRED AND
CONSlDERATION FOR CLAlM.
IF CLAlM lS SUBJECT TO SETOFF,

CONT[NGENT

UNLlQUlDATED
DISPUTED

AMOUNT

CLAlM

 

ACCOUNT NO.

 

Texas Tollways
PO Box 650749
Dallas, TX 75265-0749

Incurred: 10/26/ 12
Consideration: Goods and services

32.61

 

ACCOUNT NO.

 

Thompson Reuters (Markets) LLC
PO Box 5136
Carol Stream, IL 60197-5136

Incurred: various
Consideration: Goods and services

2,154.92

 

ACCOUNT NO.

 

US Securities & Exchange
Commission

100 F St, NE

Washington, DC 20549

Notice Only

 

ACCOUNT NO.

 

Vapor Solutions, lnc.
3500 W Seventh St
Fort Worth, TX 76107

Incurred: ll/|/12

98,200.93

 

ACCOUNT NO.

 

Walsh Environmental
4888 Pearl East Circle, Suite 108
Boulder, CO 80301

 

 

 

Incurred: 10/15/12
Consideration: Goods and services

 

 

 

 

650.00

 

Shcctno. 15 of 14 continuation sheets attached

to Schedulc of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>

Total >

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
Statistical Summary of Certain Liabilities and Related Data.)

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HankmptcyZOlZ 01991-20|2, New Hopc Sohwm'e, lnc._ ver. 4_6.8-782 - WQAY~V'PNG'””

CaSe 12-46295-r`fn11 DOC 2-13 Filed 11/09/12 Entered 11/09/12 19214:11 Page 15 Of 15

B6F (Official Form 6F) (12/07) - Cont.

in re Latitude Solutions, lnc.
Debtor

, Case No.

 

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SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDlTOR’S NAME.
MAlLlNG ADDRESS
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AND ACCOUNT NUMBER
(See instructions above.)

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DATE CLAlM WAS lNCURRED AND
CONS[DERATION FOR CLAIM.
lF CLAlM IS SUBJECT TO SETOFF,

CON'l`lNGENT

UNLIQUIDATED
DlSPUTED

AMOUNT
OF
CLAlM

 

ACCOUNT NO.

 

Water the World
3500 W Seventh St
Fort Worth, TX 76107

Incurred: ll/l/l2

7,3 l 8.42

 

ACCOUNT NO.

 

Wilhelm Charitable Remainder Trust
c/o Steele Street Bank & Trust

55 Adams St

Denver, CO 80210

Incurred: 7/9/10
Consideration: Convertible note

10,000.00

 

ACCOUNT NO.

 

Windsl:ream Communications
PO Box 580451
Charlotte, NC 28258-0451

Consideration: Goods and services

0.00

 

ACCOUNT NO.

 

Zephryhills Direct
PO Box 856680
Louisville, KY 40285-6680

Incurred: various
Consideration: Goods and services

74.18

 

ACCOUNT NO.

 

 

 

 

 

 

 

 

 

Sheetno. 14 of 14 continuation sheets attached

 

to Schedule of Creditors Holding Unsecured
Nonpriority Claims

Subtotal>

Total >
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the
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